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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                               TEXARKANA DIVISION

ALEXANDRA DAVIS,
    Plaintiff/Counter-Defendant,

vs.                                                       CIVIL ACTION No. 5:23-cv-00032-RWS

JERRAL W. JONES, DALLAS COWBOYS                                      JURY TRIAL DEMANDED
FOOTBALL CLUB, LTD., JAMES
WILKINSON, TRAILRUNNER
INTERNATIONAL, LLC, and DONALD
JACK, JR.,
      Defendants/Cross-Plaintiff,

vs.

CYNTHIA DAVIS-SPENCER,
    Third-Party Defendant.

      DEFENDANTS’ PARTIALLY AGREED MOTION FOR CONTINUANCE OF
                    DEFENDANT JACK’S DEPOSITION

       Defendants Jerral W. Jones, Dallas Cowboys Football Club, Ltd., James Wilkinson,

TrailRunner International, LLC, and Donald Jack, Jr., seek limited protection to move a single

deposition date, which Plaintiff has agreed to move but on certain conditions, which Defendants

seek protection for reasons of efficiency and fairness:

       Shortly after the hearing on Defendants’ original Motion to Dismiss and Scheduling

Conference, the Parties promptly conferred on deposition dates and agreed to begin with Plaintiff’s

deposition, followed by Defendants Wilkinson and TrailRunner, Defendant Jack in December, and

then Defendant Jones in January. To ensure discovery would not delay these depositions,

Defendants undertook extensive productions under the Court’s discovery order and produced

thousands of documents on October 30, 2023.

       But on October 31, 2023, the Court dismissed Plaintiff’s entire case and granted leave to

amend only one essential element (actual malice) of one remaining claim regarding the Second


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ESPN Article. See Dkt. 50. Thus, because Plaintiff’s claims were no longer pending, the scheduled

depositions of Plaintiff, Wilkinson, and TrailRunner were subsequently cancelled. In light of these

cancellations, as well as the parties’ agreement to sequence depositions in the above manner,

Defendants believed that Jack’s depositions—which was originally set for tomorrow, December

5, 2023—was similarly cancelled and not going forward.

         On November 20, 2023, Plaintiff filed her First Amended Complaint. See Dkt. 51. Ten

days later, the parties revisited discussions regarding the timing and sequencing of depositions.

During and prior to these talks, Defendants raised potential discovery issues regarding Plaintiff’s

and Third-Party Defendant’s failure to produce complete documents in their disclosures, and

requested that Plaintiff and Third-Party Defendant supplement their productions by December 6th.

Given these incomplete productions, Defendants were under the impression that all parties

understood Jack’s deposition—which was scheduled one day before the supplementation—would

not be going forward. Defendants also explained that a new deposition schedule would be needed,

including a revised date for Jack’s deposition.1 While Plaintiff agreed to reset Jack’s deposition,

she insisted that Jack’s deposition take place “in December” and would not commit to a new date

for her own deposition prior to Defendants’ depositions. Plaintiff’s demand, however, is not

feasible given the posture of this case, and would greatly prejudice Defendants’ ability to prepare

Jack for that deposition.

         Defendants therefore respectfully request that depositions in this case be scheduled in their

original agreed order (Plaintiff, Wilkinson, TrailRunner, Jack, and Jones) after issue is joined on




         1
           In fairness it should be noted that Plaintiff offered a deposition date on the Wednesday before (or, possibly,
the Sunday after) Thanksgiving while Plaintiff was visiting Dallas for the holiday. But the undersigned counsel was
visiting with family out of town on those dates and there had not (and has not) been resolution of the document issue
previously mentioned.


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Defendants’ Motion to Dismiss Plaintiff’s First Amended Complaint (Motion, Response, Reply,

Sur-Reply—if any—and argument). Good cause exists for this request.

         First, Defendants will be filing their Motion to Dismiss Plaintiff’s First Amended

Complaint on December 8, 2023. See Dkts. 55, 56. Absent extensions, Plaintiff’s response will be

due on December 22, 2023, and Defendants’ reply will be due on December 29, 2023. See E.D.

Tex. Local R. CV-7(e)–(f). Defendants will also seek an oral hearing on the motion. And still

further, Third-Party Defendant’s counsel has represented that she is in a jury trial this week, and

that she intends to produce additional disclosures on December 15, 2023. Jack cannot be

reasonably expected to prepare for his deposition without (1) time to review Plaintiff’s and Third-

Party Defendant’s supplemental productions, and (2) notice of the grounds on which Plaintiff

intends to oppose dismissal of her First Amended Complaint (either as to the claims against him

or the other Defendants for which he may or may not have relevant information or be questioned

about). Indeed, Defendants are entitled to understand Plaintiff’s purported basis for resisting

dismissal before submitting to depositions.

         In addition, the partial discovery conducted to date has revealed that Plaintiff, contrary to

her representations, did seek money from Jones not only at the November 2017 dinner meeting

when she read a demand letter to Jack, but also every year thereafter.2 Given the inconsistencies

between these newly-discovered documents and Plaintiff’s prior representations in pleadings and

before the Court, it is essential that Plaintiff be deposed first to ensure Defendants are not shooting

at a moving target. See Blackmon v. Bracken Constr. Co., Inc., No. CV 18-142-BAJ-SDJ, 2020




         2
           In their forthcoming motion to dismiss, Defendants will argue that Plaintiff’s claims fail as a matter of law
because, among other grounds, Plaintiff consistently demanded money from Jones when she was not entitled to it but
then, without telling Jones, supposedly abandoned any monetary motive such that it was somehow defamatory to say
she sought his money. In addition, Defendants will argue that Plaintiff’s pleading (or lack thereof) of plausible facts
regarding Constitutional actual malice is utterly insufficient.


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WL 6065520, at *4 (M.D. La. Oct. 14, 2020) (ordering plaintiff to be deposed first where, inter

alia, discovery had revealed “information that may be inconsistent with [plaintiff’s] allegations”);

see also Baggs v. Highland Towing, L.L.C., No. CIV. A. 99-1318, 1999 WL 539459, at *2 (E.D.

La. July 22, 1999) (“[I]t makes sense in this case that the party whose allegations commenced the

lawsuit should be deposed first so that a full understanding of his claims may be obtained before

other discovery occurs.”); Renlund v. Radio Sys. Corp., No. 21-CV-720 (DWF/HB), 2021 WL

6881287, at *6 (D. Minn. July 6, 2021) (recognizing the “value” of defendant having plaintiff’s

deposition testimony “in order to prepare [defendants’ witnesses] for their depositions” and

ordering that plaintiff’s deposition be taken before plaintiff could depose defendant’s witnesses).

       Furthermore, Plaintiff will not be prejudiced by this request. Indeed, she already agreed to

sequence discovery in the manner requested herein. See Arnold v. Crossroads Hospice of

Tennessee, LLC, No. 2:18-CV-02779-JTF-CGC, 2019 WL 11583412, at *3 (W.D. Tenn. Nov. 18,

2019) (finding plaintiff had already agreed to be deposed first and rejecting plaintiff’s later efforts

to “unilaterally stray from this mutual agreement”). Additionally, any concerns regarding delay

are overstated, as there are nearly five months remaining for fact discovery under the original

docket control order.

                                      REQUESTED RELIEF

       Defendants ask that: (1) the Jack deposition be continued temporarily without conditions

to an agreed date; (2) depositions only begin after the motion to dismiss is argued; and (3) when

depositions commence they follow the same order as previously agreed: Plaintiff, Wilkinson,

TrailRunner, Jack, and Jones and (4) such other relief as to which Defendants may be entitled.




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Dated: December 4, 2023



 FOLSOM ADR PLLC                               JACKSON WALKER LLP

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                             CERTIFICATE OF CONFERENCE

        On December 4, 2023, the undersigned conferred with Jay Gray, counsel for Plaintiff, and
Kris Hayes, counsel for Third-Party Defendant about the merits of this motion. Plaintiff’s counsel
partially opposes the requested relief sought in this motion. Third-Party Defendant’s counsel
opposes all relief.

                                                            /s/ Edwin Buffmire
                                                            Edwin Buffmire



                                CERTIFICATE OF SERVICE

       On December 4, 2023, I electronically submitted the foregoing document with the clerk of
the court of the U.S. District Court, Eastern District of Texas, using the electronic case filing
system of the court. I hereby certify that I will serve all counsel of record electronically or by
another manner authorized by Federal Rule of Civil Procedure 5(b)(2).

                                                            /s/ Edwin Buffmire
                                                            Edwin Buffmire




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